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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



  JOHN DOE,                                               Case No.      2:15-cv-02830
  Plaintiff,                                              JUDGE GRAHAM
  v.                                                      Magistrate Kemp
  THE OHIO STATE UNIVERSITY, ET                            OPPOSITION TO MOTION TO
  AL.                                                      DISMISS SECOND AMENDED
                                                           COMPLAINT
  Defendants.




         Plaintiff John Doe respectfully submits this Opposition to Defendants’ Motion to Dismiss the

 Second Amended Complaint.

                                                  FACTS

         The Court is familiar with the acts of this case. See e.g. Doe v. Ohio State Univ., 219 F. Supp. 3d

 645 (S.D.Ohio 2016)(granting in part, and overruling in part, Motion to Dismiss); Doe v. Ohio State

 Univ., 2016 U.S. Dist. LEXIS 52942 (S.D. Ohio, Apr. 20, 2016) (adopting recommendation on

 preliminary injunction); .

         The facts related to Title IX enforcement at The Ohio State University (“OSU”) has also been

 litigated extensively in other cases before this Court. See e.g. Waters v. Drake, 222 F. Supp. 3d 582 (S.D.

 Ohio 2016); Doe [II] v. Ohio State Univ., S.D.Ohio No. 2:16-cv-171, 2017 U.S. Dist. LEXIS 34725 (Mar.

 10, 2017) (“Doe II”).

         Accordingly, the facts need not be repeated.




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                                              ARGUMENT

 A.      Standard

         In deciding whether to grant a Rule 12(b)(6) motion, this Court is required to accept all well-

 pleaded factual allegations of the Amended Complaint as true and construe the complaint in the light

 most favorable to the plaintiffs. Reilly v. Vadlamudi, 680 F.3d 617, 622 (6th Cir. 2012), quoting Dubay v.

 Wells, 506 F.3d 422, 426 (6th Cir. 2007). The Second Amended Complaint will survive a motion to

 dismiss if it “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is

 plausible on its face,’” that is, “that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). See also Bell

 Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).


 B.      The Second Amended Complaint States A Valid Title IX Claim

         The Second Amended Complaint states a valid claim under Title IX by suggesting that at the

 urging of the Department of Education, Office of Civil Rights (“OCR”) and other high-ranking

 officials in the Obama Administration, OSU, like other colleges and universities, has been relying on

 Title IX to crackdown on male students alleged to have committed sexual assault.

         1.      Response To OCR Pressure

         Defendants challenge the basic inference of the Title IX claim in the Complaint. Pressure

 from OCR, Defendants argue, can not lead to a reasonable inference of gender discrimination.

 “Urging Institutions of higher learning to take sexual assaults seriously” Defendants argue,” does not

 plausibly lead to the conclusion that those institutions would, in response, rampantly engage in

 invidious gender discrimination against male students.” Def. Memo. at 3.

         The background of this controversy is, of course, the promulgation by OCR of the “Dear

 Colleague Letter” in 2011. The Dear Colleague Letter, although not regulations adopted according to

 notice-and-comment rulemaking procedures, spurred schools such as OSU to adopt investigatory and

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 adjudicatory procedures and practices that unfairly disadvantage accused students. As one federal

 appeals court judge recently observed, “These policies were developed by bureaucrats in the U.S.

 Department of Education and thrust upon educators with a transparent threat of withholding federal

 funding.” Plummer v. Univ. of Houston, 5th Cir. No. 15-20350, 2017 U.S. App. LEXIS 11268, at *24

 (June 23, 2017) (Jones, J., dissenting). A number of recent lawsuits challenging these procedures have

 survived preliminary motions as federal courts expressed concern about the failure of schools to

 comply with their own procedures. See e.g, Brown Univ., 166 F. Supp. 3d 177 (D.R.I. 2016) (denying

 motion to dismiss breach of contract claim based on alleged “pressure [from OCR] on universities”);

 Doe v. Amherst College, D.Mass. Civil Action No. 15-30097-MGM, 2017 U.S. Dist. LEXIS 28327, at

 *41 (Feb. 28, 2017) (denying motion for judgment on pleadings for breach of contract for school

 policies enacted due to OCR pressure); Naumov v. McDaniel College, Inc., D.Md. No. GJH-15-482, 2017

 U.S. Dist. LEXIS 49887, at *29 (Mar. 31, 2017) (rejecting argument that Dear Colleague Letter

 required breach of college handbook); Collick v. William Paterson Univ., D.N.J. No. 16-471 (KM) (JBC),

 2016 U.S. Dist. LEXIS 160359, at *69-70 (Nov. 17, 2016)(“the Complaint sufficiently alleges that

 Defendants did not adhere to [the school’s] own rules, that the procedure they followed was unfair,

 and that the decision was not based on sufficient evidence”); Doe v. Brandeis Univ., 177 F. Supp. 3d

 561, 600 (D.Mass.2016)(“the Court concludes that the complaint plausibly alleges that [the school] did

 not provide ‘basic fairness’ to” accused student); Doe v. Lynn Univ., Inc., S.D.Fla. No. 9:16-CV-80850,

 2017 U.S. Dist. LEXIS 7529, at *17 (Jan. 19, 2017) (plaintiff stated valid claims for of contract and

 breach of the implied covenant of good faith and fear dealing in connection with sexual assault

 investigation).

         Accordingly, the inference that schools are motivated by pressure from OCR is, in fact, a

 reasonable inference that other courts have, on a motion to dismiss standard, drawn. In Doe v. Brandeis

 University, a federal court refused to dismiss a lawsuit of a student who was disciplined for unwanted

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 sexual conduct arising in the course of a dating relationship. The court noted that that the school had,

 in fact, adopted procedures that “substantially impaired, if not eliminated, an accused student's right

 to a fair and impartial process” as a direct result of pressure from OCR. The court said:

          When considering the issues presented in this case, it is impossible to ignore entirely
          the full context in which they arose. In recent years, universities across the United
          States have adopted procedural and substantive policies intended to make it easier for
          victims of sexual assault to make and prove their claims and for the schools to adopt
          punitive measures in response. That process has been substantially spurred by [OCR],
          which issued a "Dear Colleague" letter in 2011 demanding that universities do so or
          face a loss of federal funding.

 2016 U.S. Dist. LEXIS 43499, at *12-13. In a prior decision in this case, this Court observed that the

 failure of a school to comply with guidance by the Office of Civil Rights on Title IX “could jeopardize

 its federal funding.” Doe v. Ohio State Univ., S.D. Ohio No. 2:15-cv-2996, 2016 U.S. Dist. LEXIS 7700,

 at *30 (Jan. 22, 2016). And, succinctly, another court has observed, directly contrary to Defendants’

 statement, “it is plausible that [the school] was under pressure to convict students accused of sexual

 assault in order to demonstrate that the school was in compliance with the OCR's guidance.” Doe v.

 Wash. & Lee Univ., W.D.Va. No. 6:14-cv-00052, 2015 U.S. Dist. LEXIS 102426, at *23-24 (Aug. 5,

 2015).

          2.     The Validity of the Title IX Claim

          The Second Amended Complaint, in Count III, states a valid erroneous outcome claim against

 OSU based on Title IX, the federal statute designed to prevent sexual discrimination in educational

 institutions receiving federal funding. 20 U.S.C. § 1681 et seq. Title IX claims against universities arising

 from disciplinary hearings are analyzed under the “erroneous outcome” standard, “selective

 enforcement” standard, “deliberate indifference” standard, and “archaic assumptions” standard.

 Mallory v. Ohio Univ., 76 Fed. App'x 634, 638 (6th Cir. 2003) (internal citations omitted). In an




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 erroneous outcome case, a party asserts that he or she was innocent and wrongly found to have

 committed the offense. Id. Yusuf v. Vassar Coll., 35 F.3d 709, 714-16 (2d Cir. 1994).

          The key cases in evaluating Plaintiff’s claim are Yusuf, supra. and Doe v. Columbia Univ., 831 F.3d

 46 (2016).1 In Yusuf, the Second Circuit explained that in order to assert a claim based on an erroneous

 outcome/selective enforcement theory the Plaintiffs need to allege that the hearing was flawed due to

 the Plaintiffs’ gender. The key language from the decision addresses the allegations at the pleading

 stage:

          A plaintiff must . . . also allege particular circumstances suggesting that gender bias
          was a motivating factor behind the erroneous finding. Allegations of a causal
          connection in the case of university disciplinary cases can be of the kind that are found
          in the familiar setting of Title VII cases. Such allegations might include, inter alia,
          statements by members of the disciplinary tribunal, statements by pertinent university
          officials, or patterns of decision-making that also tend to show the influence of gender.




 1
   In Columbia, the Second Circuit said that a pleading “is sufficient with respect to the element of
 discriminatory intent” if it “pleads specific facts that support a minimal plausible inference of such
 discrimination.” 831 F.3d at at 56. The Columbia opinion’s use of the adjective “plausible” reflects the
 view that on a motion to dismiss under Rule 12(b)(6), the criteria articulated in Iqbal apply to
 discrimination claims based on gender at colleges and universities, which must also be evaluated in
 accordance with the McDonnell-Douglas framework.
 Defendants criticize the Columbia decision, suggesting that the decision adopted a “lesser standard of
 pleading” inconsistent with Iqbal. Def. Memo. at 5, citing Doe v. University of Colorado-Butler, D.Colo.
 Civil Action No. 16-cv-1789-WJM-KLM, 2017 U.S. Dist. LEXIS 81585 (May 26, 2017). This criticism
 is unfounded. One court noted that the “interpretation of Iqbal” urged by schools “asks the court to
 disbelieve or infer against [students], which the court cannot do on Rule 12(b)(6) motions.” Neal v.
 Colorado State Univ.-Pueblo, D.Colo. Civil Action No. 16-cv-873-RM-CBS, 2017 U.S. Dist. LEXIS
 22196, at *44-45 (Feb. 16, 2017). The decision in Columbia has been followed by other courts. These
 courts, applying the Iqbal standard, found that allegations that schools were cognizant of criticism
 levied at their handling of sexual assault complaints by female students against males, combined with
 more general assertions about similar nationwide pressure, were sufficient to survive motions to
 dismiss. See e.g. Doe v. Lynn Univ., Inc., S.D.Fla. No. 9:16-CV-80850, 2017 U.S. Dist. LEXIS 7529, at
 *13 (Jan. 19, 2017) (following Columbia; the “Amended Complaint supports the plausible inference of
 a causal connection between the flawed outcome and gender bias”).




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 35 F.3d at 715 (citations omitted). As noted in Plaintiffs’ Motion, Yusuf was followed by Columbia. In

 Columbia, supra, the Second Circuit held that a complaint stated a valid claim under Title IX, and thus

 survived a motion to dismiss, based on allegations that the school had adopted a biased approach in

 response to pressure from the Department of Education

         The Sixth Circuit has explicitly adopted the Yusef approach to these types of cases. Doe v.

 Cummins, 2016 U.S. App. LEXIS 21790, at *35 (“we have previously looked to the Second Circuit's

 decision in Yusuf”). In Cummins, the Sixth Circuit reviewed a Title IX claim against the University of

 Cincinnati (“UC”) in the context of both Yusef and Columbia. Significantly, the Sixth Circuit did not

 contest the conclusion in Columbia that the school had adopted a biased approach in response to

 pressure from OCR. Instead, the Sixth Circuit distinguished the Columbia decision based on two facts

 present in the Columbia case but not present against UC at that time:

         [1] [Plaintiffs] do not allege that UC or any of its officials had faced public criticism
         for their handling of Title IX investigations prior to appellants’ hearings. [2] Nor do
         [the Plaintiffs] allege that UC—unlike Columbia University—was being investigated
         by the federal government for potential Title IX violations.

 Doe v. Cummins, 2016 U.S. App. LEXIS 21790, at *38.

         Both of the facts missing in the Doe v. Cummins case are present in the Second Amended

 Complaint.2 First, OSU, unlike UC in Cummins, was under investigation by the Department of

 Education. At the time of the Doe v. Cummins case, UC was not under investigation by the Department

 of Education.3 The absence of an investigation by the Department of Education appears to have been

 a dispositive factor for the Sixth Circuit, as the court observed:


 2
  The use of the term “nor” by the Sixth Circuit suggests that either of the conditions – criticism or an
 OCR investigation – is sufficient to satisfy the pleading requirements and that both are not necessary.
 3
  Defendants state in a conclusory manner that “OCR concluded that OSU’s policies and practices
 were sound and fair.” Def. Memo. at 12. This is substantial revisionist history. Or, more accurately,
 a false statement consistent with the false characterization of the OCR investigation by OSU
 administrators that the school proactively contacted OCR for a review. (Second Amended Complaint
 ¶21.) In fact, OCR demanded that OSU make changes to its program as part of a settlement
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        The complaint states that the federal government is investigating at least 129 schools
        for possible Title IX violations related to sexual assaults and then lists several schools
        that are the subject of those investigations. Notably absent is the University of Cincinnati.

 Doe v. Cummins, 2016 U.S. App. LEXIS 21790, at *31 n.6 (emphasis supplied). This is 180 degrees

 different from this case. The Second Amended Complaint alleges that OSU was under investigation

 by OCR at the time it was evaluating the allegations against John Doe.4 (Amended Complaint ¶20

 and Exhibit A.) In fact, the Second Amended Complaint goes further by alleging that OSU took

 certain steps to make it more difficult for students accused of sexual assault to defend themselves as

 a direct result of the OCR investigation: “As part of the agreement, OSU was required to take certain

 steps that had the effect of undermining the presumption of innocence and eliminating any burden of

 proof on those seeking to demonstrate misconduct by another student.”                  (Second Amended

 Complaint ¶24.)

        Second, in Cummins, a similar allegation about pressure from OCR was made as was present

 in Columbia: “Partly out of concern for the Department of Education enforcement . . . UC

 [erroneously] decided to impose discipline on [students]. . . to demonstrate to the Department of

 Education that Defendant would take action against males accused of sexual harassment.” The Sixth



 agreement after finding that it was not in compliance with the law. OCR in its press release announcing
 the settlement with OSU said, “OCR determined that the university is in violation of Title IX because
 its written policies and procedures for responding to complaints, reports and other incidents of sexual
 violence and harassment do not comply with the law’s requirements.” See Sept. 11, 2014 Press Release,
 available at https://www.ed.gov/news/press-releases/us-department-education-reaches-agreement-
 ohio-state-university-address-and-prev.
 4
   The Defendants argue that the Amended Complaint fails to allege that any of the decision-makers
 for the John Doe case were aware of the OCR investigation. Def. Memo. at 28. This seems to impose
 an impossible pleading standard and is contrary to the holding of Columbia. Moreover the inference
 that this investigation influenced OSU decisions in regards to John Doe can be reasonably drawn from
 the timing of OSU actions in deciding John Doe’s appeal. The Second Amended Complaint alleges
 that OSU administrators delayed On “ruling on the appeal while OSU finalized negotiations with
 OCR” and notes that after a substantial delay John Doe was informed that he would be expelled
 merely “two days after OSU President Michael Drake, on behalf of OSU, signed the revised resolution
 agreement” with OCR. (Second Amended Complaint ¶¶86(b)-86(c).)

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 Circuit characterized this as a conclusory allegation. But, in this case, there is more that just a

 conclusory allegation. The Second Amended Complaint has also alleged that, unlike UC in the

 Cummins case, OSU’s administrators were cognizant of that pressure from both the public and the

 advocates of female students. Specifically, the Second Amended Complaint highlights pressure from

 national media outlets such as the New York Times and Slate. (Second Amended Complaint ¶19.)

 The Second Amended Complaint also references gender-based criticism from students and the faculty.

 (Second Amended Complaint ¶24.) That, by itself, makes the instant case more similar to Columbia,

 which the Cummins opinion distinguished as “involv[ing] additional facts substantiating the plaintiff's

 claim that federal-government influence had led to gender bias in the university's enforcement

 proceeding.”

         The Second Amended Complaint, thus, supports the plausible inference of a causal

 connection between the flawed outcome and gender bias. Defendants suggest that the Second

 Amended Complaint is “entirely devoid of any factual allegations tying the outcome of [John Doe’s]

 case to his gender.” Def. Memo. at 7. This is incorrect. The Second Amended Complaint suggests

 that before the decision to discipline John Doe was made, OSU faced criticism for its handling of

 sexual assaults.5 The Second Amended Complaint suggests that OSU, like other schools nationwide,




 5
   Defendants argue that “There is not a single fact stated in Plaintiff’s Second Amended Complaint
 which plausibly demonstrates that the OCR review resulted in pressure on OSU to engage in gender
 discrimination against Plaintiff.” Def. Memo. at 12. This is incorrect. The Second Amended
 Complaint alleges, in fact, that the final decision on the allegations against John Doe was delayed while
 the agreement with OCR could be finalized. (Second Amended Complaint ¶86(b).) More generally,
 the Second Amended Complaint alleges that OSU, as part of the agreement with the Department of
 Education, “agreed to revise its policies and procedures on sexual harassment and sexual assault” and
 that as part of the agreement, OSU was required to take action which made it more difficult for male
 students to defend against claims of sexual misconduct. The Second Amended Complaint states:
 “OSU was required to take certain steps that had the effect of undermining the presumption of
 innocence and eliminating any burden of proof on those seeking to demonstrate misconduct by
 another student.” Second Amended Complaint ¶24.

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 faced intense pressure to change procedures or risk the loss of federal funding. This has resulted in

 policies that discriminate on the basis of sex:

         In response to pressure from OCR, DOJ, and the White House, educational
         institutions, like OSU, are limiting procedural protections afforded to male students,
         like John Doe, in sexual misconduct cases. The Association of Title IX
         Administrators, which on information and belief OSU staff members participate in,
         published “2014 Whitepaper” entitled Equity is Such a Lonely Word, includes training
         materials presented to college Title IX departments and states: “victims have
         historically been accorded 3/5 of the rights of an accused individual (or less), and
         victims are typically women, equity may require institutions to recalibrate the
         pendulum to right the historical imbalance.” (emphasis added).

 (Second Amended Complaint ¶18.) The Second Amended Complaint further describes criticism of

 OSU, specifically, in the national media for its handling of allegations of sexual assault and suggesting

 that OSU acted in response to the national pressure. (Second Amended Complaint ¶19.) The Second

 Amended Complaint then falls clearly within the holding of Columbia by alleging that the action against

 John Doe was a direct result of this criticism:

         On information and belief, facing an investigation by OCR and after having been
         severely criticized in the student body and in the public press for toleration of sexual
         assault of female students, OSU was motivated in this instance to accept the female's
         accusation of sexual assault so as to show OCR, the student body, and the public that
         OSU is serious about protecting female students from sexual assault by male student.
         The investigator, hearing panel, and administration adopted a biased stance in favor
         of the accusing female and against the defending male in order to avoid further fanning
         the criticisms that OSU turned a blind eye to such assaults.

 (Second Amended Complaint ¶118(b).)

         The Defendants focus on Paragraph 29 of the Second Amended Complaint, suggesting that

 it references only “a single blog posting by an anonymous student.”6 Def. Memo. at 10. The

 Defendants ignore the reference to the visit by Vice President Biden aimed at encouraging OSU to

 continue to crackdown on sexual assault allegations. (Second Amended Complaint ¶29(c).) The



 6
  The anonymous blog post turns out to be neither anonymous nor a blog post, but instead is an article
 by a named OSU student at an online news platform. (Second Amended Complaint ¶29(a).)

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 Defendants also ignore the open letter from the faculty of the Department of Women’s, Gender and

 Sexuality Studies at OSU published in the school newspaper. (Second Amended Complaint ¶29(b).)

 Most importantly, there is no real need to draw a large inference from pressure on OSU and actions

 by OSU, as the OSU President admitted: “We are deeply concerned by sexual misconduct and

 relationship violence both at Ohio State and at institutions of higher learning across the nation.”

 (Second Amended Complaint ¶30.)

        Lest there is any confusion that the OSU President, as quoted in the prior paragraph, meant

 to have OSU adopted policies that favor female accusers, the Second Amended Complaint states that

 OSU’s President in a report “recommended that a school system should not be aimed at determining

 whether a sexual assault has occurred, but should, instead, assume that a sexual assault did occur.”

 (Second Amended Complaint ¶ 28(d).) The Second Amended Complaint, later, describes how “OSU

 has taken a ‘victim centered approach’ towards allegations of sexual misconduct which leads to bias

 in the system and an uneven adjudicatory process.” (Second Amended Complaint ¶40.) Under the

 “victim-centered approach,” OSU has adopted a system where the allegations of purported female

 victims against male students are accepted as true without any investigation being performed and

 without the development of any facts or exculpatory evidence. The non-conclusory allegations that

 OSU has adopted an unfair “victim-centered” system are supported by quotes from Defendant

 Adams-Gaston, the Ohio Board of Regents, and references to the OSU web pages. (Second Amended

 Complaint ¶¶ 40(b), 41.)

        Defendants suggest that favoring “victims” over the accused does not, necessarily, suggest

 gender bias.7 Def. Memo at 8-9 (collecting cases). The Plaintiffs, certainly at the pleading stage, are



 7
  This is a strange contention; if true then Plaintiff would automatically entitled to judgment on his
 Due Process claim. The Due Process clause does not differentiate between permissible and
 impermissible forms of bias. Fundamental to Due Process is an impartial trier of fact; a system biased
 against the accused and in favor of alleged victims by definition violates due process guarantees. See
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 not required to present a “smoking gun” in which an OSU administrator admits to gender bias.8 A

 complaint is not subject to dismissal because it lacks direct evidence of unlawful conduct, even if the

 Court believes that discovery is not likely to yield this evidence. “[O]f course, a well-pleaded complaint

 may proceed even if it strikes a savvy judge that actual proof of those facts is improbable, and ‘that a

 recovery is very remote and unlikely.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007), quoting

 Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)     In this case, as set forth supra, an examination of the

 allegations of bias demonstrate that they are more than sufficient under the Twombley (and Iqbal)

 standard.

         The Defendants essentially question the link between pressure on OSU, including the pressure

 generated by the OSU Band matter, and discriminatory actions against the Plaintiff. Def. Memo. at

 11. The band matter, in particular, appeared to play a key role in the OCR review of how OSU handled

 allegations of sexual assault and sexual harassment on campus. The Second Amended Complaint

 describes how, for example, OCR cited to the band matter in announcing the resolution of the OSU

 investigation. (Second Amended Complaint ¶23.) There is nothing implausible or unreasonable about

 the Second Amended Complaint's suggested inference that OSU adopted a biased stance in favor of

 the accusing female and against the defending male student to avoid further criticisms that UC has

 turned a blind eye to “rape culture” and to appear as though OSU is ‘tough’ on sexual assault.9 This



 EJS Properties, LLC v. City of Toledo, 736 F.Supp.2d 1123, 1129 (N.D. Ohio 2010) (“A decision by a
 biased or corrupt decision-maker may constitute a deprivation of procedural due process.”); Beauchamp
 v. De Abadia, 779 F.2d 773, 776 (1st Cir. 1985) (“An impartial decision-maker is, of course, a
 fundamental component of due process.”).
 8
  Indeed, it would be shocking to find such an admission. University administrators are too smart to
 make such a mistake. As a result, bias must be inferred.
 9
   The Defendants attempt to defend the false testimony of Brennan described in Paragraph 21 of the
 Second Amended Complaint. OSU focuses on whether Brennan used the term “investigation” or
 “compliance review.” Def. Memo. at 12 n. 2. This was not the misleading statement. Brennan’s false
 statement concerned the initiation of the “investigation” or “compliance review.” Brennan falsely
 suggested that OSU “proactively” reached out to the Department of Education when, in reality, OSU
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 is the essential holding of Columbia. 2016 U.S. App LEXIS 13773 at *29. The Sixth Circuit, when

 given an opportunity to criticize the reasoning of Columbia in the Doe v. Cummins case, declined to do

 so.10

           In this respect, John Doe’s case is analogous to another recent case wherein a motion to

 dismiss the Title IX claim by a student expelled for an alleged sexual assault was denied. Doe v. Brown

 Univ., supra. In the Brown case, the court examined the conflicting authority on this issue, but

 concluded that a complaint brought by a male student does not, on a 12(b)(6) standard, require

 “statistical evidence and/or data analysis that female students accused of sexual assault were treated

 differently.” The court, in doing so, rejected an argument that the Title IX claim in the Amended

 Complaint should be dismissed because it contains nothing more that “speculation and tenuous

 inferences.” The Brown court observed that “such a standard, is both practically impossible and

 inconsistent with the standard used in other discrimination contexts.” Id. at *26. The Brown court

 also observed that “the best information for discerning whether alleged discrimination was based on

 the plaintiff's gender as opposed to his status as an accused student is generally in the possession of

 the defendant” and that “given the nonpublic nature of the underlying information, the type of

 evidence . . . is more akin to what would be required at summary judgment.” Id. at *30. Cf. Wells v.

 Xavier, 7 F. Supp. 3d 746, 751 (S.D. Ohio 2014) (finding the plaintiff pleaded facts sufficient to cast

 doubts on the accuracy of a disciplinary proceeding by alleging, inter alia, that the defendants rushed

 to judgment and failed to train the disciplinary hearing panel); Doe v. Case W. Reserve Univ., No.

 1:14CV2044, 2015 U.S. Dist. LEXIS 123680, at *5 (N.D. Ohio Sept. 16, 2015) (finding that the

 plaintiff pleaded facts sufficient to cast doubts on accuracy of a disciplinary proceeding outcome by



 was reacting to an investigation initiated by the Department of Education. Brennan also allegedly lied
 when asked if OSU had adopted a “victim centered” approach. (Second Amended Complaint ¶41(b).)
 10
      The decision by Judge Beckwith in Doe v. Cummins was prior to Columbia.

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 alleging that the defendant, inter alia, did not allow the plaintiff to review that evidence and denied the

 plaintiff the opportunity to cross examine his accuser).

         3.      Recent Decisions

         A recent decision of this Court found that a Title IX claim against OSU could survive a motion

 to dismiss. Doe II, supra. In Doe II, a male student at OSU was accused of violating OSU's Code of

 Student Conduct, specifically sexual misconduct. OSU investigated and adjudicated the claims in Doe

 II a mere few months preceding the facts underlying the claims presented in this case. The student in

 Doe II was found responsible and dismissed from OSU. He subsequently brought a complaint alleging

 a violation of Title IX. In every respect relevant to the Title IX claim in the Second Amended

 Complaint, these cases are identical.

         In Doe II, this court denied a motion to dismiss an “erroneous outcome” Title IX claim. The

 plaintiff in Doe II, as in this case, offered “indirect/circumstantial evidence of gender bias,” including

 evidence of pressure from OCR. He specifically suggested that there was a “temporal connection

 between the [OCR] investigation of OSU and OSU's investigation of John Doe.” 2017 U.S. Dist.

 LEXIS 34725 at *40. This Court observed:

         There is little doubt that universities around the country have felt pressure to tighten
         the investigation and punishments in sexual misconduct cases because this is a very
         sensitive issue. However, there are genuine concerns raised in these cases and general
         publications regarding how universities are handling the investigations.

 2017 U.S. Dist. LEXIS 34725 at *46-47. The Plaintiff also pointed to this case and the Waters case.

         The complaint in Waters was filed in September 2014, less than two months before
         OSU charged John Doe with sexual misconduct. Although Waters was ultimately
         dismissed on summary judgment, the case and the general allegations surrounding it—
         that OSU and the OSU marching band tolerated a sexualized environment on
         campus—were highly publicized. There is a strong possibility, as alleged by Plaintiff,
         that these lawsuits could have impacted John Doe's disciplinary process. Therefore,
         based on all of the above referenced allegations, at this stage in the proceedings,
         Plaintiff has made sufficient general allegations of gender bias in cases similar to his to
         suggest there is discrimination in the investigation [*49] and hearing process of sexual
         misconduct cases

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 2017 U.S. Dist. LEXIS 34725 at *48-49. The reasoning and result in Doe II should apply in this case,

 as well.11

          Two other recent post-Cummins decisions are consistent with Doe II and support the denial of

 the Motion. Doe v. Lynn Univ., Inc., S.D.Fla. No. 9:16-CV-80850, 2017 U.S. Dist. LEXIS 7529 (Jan.

 19, 2017); Neal v. Colorado State Univ.-Pueblo, D.Colo. Civil Action No. 16-cv-873-RM-CBS, 2017 U.S.

 Dist. LEXIS 22196 (Feb. 16, 2017). In Lynn Univ., as in this case, the plaintiff, relying on news media

 reports, alleged that the school had been criticized for failing to take seriously complaints by female

 students alleging sexual assault by males. The plaintiff also, as in this case, pointed to “allegations

 about national pressure to crack down on sexual assault.” The Lynn Univ. court distinguished Cummins.

 The court observed, In denying a motion to dismiss, the court said,

          Plaintiff's allegations of national pressure are just another pebble on the scale. . .
          Plaintiff, having alleged that Defendant's representatives were cognizant of criticism
          levied at Defendant's handling of sexual assault complaints by female students against
          males and having coupled those allegations with (albeit more general) assertions about
          similar nationwide pressure, has done enough. The Amended Complaint supports the
          plausible inference of a causal connection between the flawed outcome and gender
          bias.

 2017 U.S. Dist. LEXIS 7529 at *13. In Neal, a student alleged that the school was influenced by the

 pressure or coercion of OCR “to slant the procedures . . . so as to demonstrate to DOE/OCR that it

 would find accused men — not just accused persons of any gender — responsible for sexual

 misconduct.” In recommending the denial of a motion to dismiss, a magistrate judge observed that

 there was a split in the approach taken by courts, but suggests:



 11
   Doe v. Miami Univ., S.D.Ohio No. 1:15cv605, 2017 U.S. Dist. LEXIS 45675 (Mar. 28, 2017), is not
 to the contrary. In that case, this Court (Barrett, J.) dismissed a Title IX claim against Miami
 University. In doing so, this Court distinguished Doe II, observing, in part that charges of sexual
 assault at the school “did not result in the same type or level of publicity as the Waters litigation.”




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        courts that reject similar allegations (for example, that male respondents are always
        found guilty regardless of the evidence, or that the school used the plaintiff to placate
        either [OCR] or the public) appear to draw inferences against the plaintiff, weigh facts
        in a manner . . . reserve[d] for motions for summary judgment or trial, or rely on the
        lower court decision that Columbia later reversed as employing an erroneously high
        pleading standard.

 2017 U.S. Dist. LEXIS 22196 at *33.

                                           CONCLUSION

        The Motion should be denied.



                                                        Respectfully submitted,


                                                        ____/s/ Joshua Adam Engel______
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                                  CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing has been electronically served via the Court’s CM/ECF
 system this 18th day of August 2017 upon all counsel of record.

                                                        ____/s/ Joshua Adam Engel______
                                                        Joshua Adam Engel (0075769)




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